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               EXHIBIT A
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                                                                          November 17, 2021

To:           LMB MORTGAGE SERVICES,INC.
              CT Corporation System
              450 Veterans Memorial Parkway, Suite 7A
              East Providence, RI 02914

Subject:      Notice of Pending Superior Court Action



Dear LMB MORTGAGE SERVICES,INC.,
       The attached complaint was filed against LMB MORTGAGE SERVICES,INC. in
Rhode Island Superior Court. Find also enclosed a summons,four language assistance
notices, and my first set of discovery requests in this matter. Please contact me via email so
that we can resolve this matter.

                                           Sincerely,



                                           Christopher M Laccinole
                                           23 Othmar St.
                                           Narragansett, Rhode Island 02882
                                           chrislaccinolegmail.com


End: (1)Summons
     (2)Complaint
     (3) Four Language Assistance Notices
     (4)Plaintiff's First Set of Combined Interrogatories, Requests for Production, and
Requests for Admission
       Case 1:21-cv-00495-JJM-PAS Document 1-1 Filed 12/16/21 Page 3 of 35 PageID #: 7



                                    STATE OF RHODE ISLAND
                                       SUPERIOR COURT
                                             SUMMONS

                                                  Civil Action File Number
                                                  WC-2021-0528
Plaintiff                                         Attorney for the Plaintiff or the Plaintiff
Christopher Laccinole                             Christopher Laccinole
 V.
                                                   Address of the Plaintiffs Attorney or the Plaintiff
LMB MORTGAGE SERVICES,INC.
                                                 .23.0thmak.St
                                                 .. • .     ••••• .       .
Defendant
                                                                 AL•02882
                                                   ...
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 McGrath Judicial Complex                              Welk of thé.Dèfndant
 Washington County                                      ôfporatión3System
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4800 Tower Hill Road                                      6ranv CinonaP
                                                                    to:        ,  w;ay Suite 7A
 Wakefield RI 02879
(401)782-4121                                                  rz



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                              Witness the seal/watermark ofthe Superior Court




 SC-CMS-1 (revised July 2020)
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Envelope: 3377351
Reviewer: Brittany M.



              STATE OF RHODE ISLAND                                     SUPERIOR COURT
              WASHINGTON COUNTY

              CHRISTOPHER LACCINOLE                                      C.A. No.
              Plaintiff

              Vs.
                                                                         JURY TRIAL REQUESTED
              LMB MORTGAGE SERVICES,INC.

              Does 1-10 Inclusive;
              Defendants

                                                     COMPLAINT

                                                  I. INTRODUCTION

              1.     Plaintiff, a consumer, alleges that LMB MORTGAGE SERVICES, INC.

                    ("LowerMyBills") harassed him with robodialed telemarketing solicitations without

                     the prior express written consent ofPlaintiff and while Plaintiff's telephone number

                     was on the National Do-Not-Call Registry.

              2.     After being inundated with robocalls and text messages, Plaintiff was forced to send

                     LowerMyBills a certified letter telling LowerMyBills to stop calling and texting

                     Plaintiff.

              3.     The Plaintiff brings this action alleging that the Defendant LowerMyBills and Does

                      1-10 engaged in harassing, abusive, and prohibited conduct while soliciting for

                     business in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227

                    (hereinafter "TCPA"). The Plaintiff seeks statutory damages and injunctive relief

                     from each Defendant under the TCPA.

              4.     Plaintiff never consented to receive these calls or text messages.

              5.     Plaintiff also alleges.that Defendant's conduct while attempting to sell products

                     constituted a deceptive practice in violation of the Rhode Island Deceptive Trade
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                     Practices Act. The Plaintiff seeks actual damages, injunctive relief, punitive damages,

                     costs, and attorney fees from each Defendant under the RI DTPA.

              6.     Any violations by Defendant were knowing, willful, intentional, and Defendant did

                     not maintain procedures reasonably adapted to avoid any such violation.

                                          II. JURISDICTION AND VENUE

              7.     This Court has jurisdiction to hear the TCPA claims in this matter pursuant to 47

                     U.S.C. § 227(b)(3) and 47 U.S.C. § 227(c)(5).

              8.     Venue is proper because Plaintiff is a resident of Washington County and the

                     conduct giving rise to this Complaint occurred in Washington County.

                                                      III. PARTIES

              9.     Defendant LowerMyBills maintains its headquarters at 12181 Bluff Creek Dr., Ste

                     250, Los Angeles, CA 90094.

              10.    The Plaintiff is an adult resident of Narragansett, Rhode Island.

              11.    Upon information and belief, Defendant may be served upon its registered agent in

                     Rhode Island, to wit: CT Corporation System at 450 Veterans Memorial Parkway,

                     Suite 7A, East Providence, RI 02914.

              12.    Other defendants may be discovered in the course of litigation, and Plaintiff

                     respectfully prays that the Court will permit the addition of later discovered parties

                     upon motion.

                                                 IV. TCPA BACKGROUND

              13.    In 1991, Congress enacted the TCPA to regulate the explosive growth of the

                      telemarketing industry. In so doing, Congress recognized that "[u]nrestricted

                      telemarketing . . . can be an intrusive invasion of privacy [1" Telephone Consumer
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                     Protection Act of 1991, Pub. L. No. 102-243, § 2(5)(1991)(codified at 47 U.S.C. §

                     227).

               The TCPA Prohibits Automated Telemarketing Calls to Cellular Telephones and Numbers

                                                      Charged Per Call.

              14.    The TCPA makes it unlawful "to make any call(other than a call made for

                     emergency purposes or made with the prior express consent of the called party) using

                     an automatic telephone dialing system(ATDS)or an artificial or prerecorded voice

                     ... to any telephone number assigned to a ... cellular telephone service or to a

                     number that is charged per call. See 47 U.S.C. § 227(b)(1)(A). The TCPA provides a

                     private cause of action to persons who receive calls in violation of47 U.S.C. §

                     227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

              15.    According to findings by the Federal Communication Commission("FCC"), the

                     agency Congress vested with authority to issue regulations implementing the TCPA,

                     such calls are prohibited because, as Congress found, automated or prerecorded

                     telephone calls are a greater nuisance and invasion of privacy than live solicitation

                     calls, and such calls can be costly and inconvenient.

              16.    The FCC also recognized that "wireless customers are charged for incoming calls

                     whether they pay in advance or after the minutes are used." In re Rules and

                     Regulations Implementing the Tel. Consumer Prot. Act of1991, CG Docket No. 02-278,

                     Report and Order, 18 F.C.C. Rcd. 14014, 14115 11 165 (2003).

              17.    In 2013, the FCC required prior express written consent for all autodialed or

                     prerecorded telemarketing calls ("robocalls")to wireless numbers and residential

                     lines. Specifically, it ordered that:
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                      [A] consumer's written consent to receive telemarketing robocalls must be signed
                      and be sufficient to show that the consumer:(1)received "clear and conspicuous
                      disclosure" of the consequences of providing the requested consent, i.e., that the
                      consumer will receive future calls that deliver prerecorded messages by or on behalf
                      of a specific seller; and (2)having received this information, agrees unambiguously
                      to receive such calls at a telephone number the consumer designates.[] In addition,
                      the written agreement must be obtained "without requiring, directly or indirectly,
                      that the agreement be executed as a condition of purchasing any good or service.[]"

                 In the Matter ofRules & Regulations Implementing the Tel. ConsumerProt. Act of1991, 27 F.C.C.
                                                                  Rcd. 1830, 1844(2012)(footnotes omitted).

                                             The National Do Not Call Registry

                18.    The National Do Not Call Registry allows consumers to register their telephone

                       numbers and thereby indicate their desire not to receive telephone solicitations at

                       those numbers. See 47 C.F.R. § 64.1200(c)(2). A listing on the Registry "must be

                       honored indefinitely, or until the registration is cancelled by the consumer or the

                       telephone number is removed by the database administrator." Id.

                19.    The TCPA and implementing regulations prohibit the initiation of telephone

                       solicitations to residential telephone subscribers to the Registry. 47 U.S.C. § 227(c);

                       47 C.F.R. § 64.1200(c)(2).

                                    The TCPA's Internal Do Not Call List Requirements

               20.     The TCPA's implementing regulations prohibit any company from initiating any

                       telemarketing call unless the company has implemented internal procedures for

                       maintaining a list of persons who request not to be called by the entity. 47 C.F.R.

                       64.1200(d). Such internal procedures must meet certain minimum requirements to

                       allow the entity to initiate telemarketing calls. 47 C.F.R. 64.1200(d)(1)-(6).

               21.     This includes the requirements that:

                       1. "Persons or entities making calls for telemarketing purposes must have a written
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                       policy, available upon demand,for maintaining a do-not-call list"(47 C.F.R.

                      • 64.1200(d)(1));

                    2. "Personnel engaged in any aspect oftelemarketing must be informed and trained

                       in the existence and use of the do-not-call list"(47 C.F.R. 64.1200(d)(2));

                    3. Persons or entities making telemarketing calls must honor do-not-call requests

                       within a reasonable time, not to exceed thirty days, from the date such request is

                       made (47 C.F.R. 64.1200(d)(3));

             22.    Pursuant to 47 C.F.R. 64.1200(e), the rules set forth above in 47 C.F.R. 64.1200(d)

                    are "applicable to any person or entity making telephone solicitations or

                    telemarketing calls to wireless telephone numbers...."

                                          V. FACTUAL ALLEGATIONS

             23.    Plaintiff is a person as that term is defined by 47 U.S.C. § 153(39).

             24.    Plaintiff is a person as that term is defined or referenced by RIGL § 6-13.1-5.2, RIGL

                    § 9-1-28.1.

             25.    Defendant is a person as that term is defined by 47 U.S.C. § 153(39).

             26.    Defendant is a person as that term is defined or referenced by RIGL § 6-13.1-5.2,

                   .RIGL § 9-1-28.1.

             27.    In a quest to compete with other businesses, LowerMyBills implemented a

                    telemarketing tool that placed automated calls and text messages to consumers to

                    solicit LowerMyBills' products.

             28.    Plaintiff did not ask for LowerMyBills to contact him regarding any products or

                    services.

             29.    As a consumer, Plaintiff purchased a cellular telephone in 2019 for residential
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                     purposes only.

              30.    Plaintiff's cellular telephone is not associated with any business.

              31.    Plaintiff's cellular telephone has a limited minutes plan and limited text messages

                     plan, so that when LowerMyBills places calls or text messages to Plaintiff,

                     LowerMyBills depletes the minute or text message balance on Plaintiff's plan.

              32.    Plaintiff does not owe any Defendant any money.

              33.    On October 8, 2021, Plaintiff started receiving calls and text messages from 815 435

                     0294.

              34.    During every call when LowerMyBills called Plaintiff, Plaintiff would answer the

                     call and there would be a prerecorded message playing from "Taylor from Lower My

                     Bills."

              35.    LowerMyBills was attempting to sell a financial product.

              36.    Plaintiff subsequently discovered that LowerMyBills is a telemarketer.

              37.    LowerMyBills continued to call and text message Plaintiff.

              38.    During the prerecorded message that LowerMyBills transmitted to Plaintiff,

                     LowerMyBills did not state clearly at the beginning of the message the identity of the

                     business, individual, or other entity initiating the call.

              39.    In the prerecorded message that LowerMyBills transmitted to Plaintiff,

                     LowerMyBills did not state clearly the address of such business, other entity, or

                     individual.

              40.    On October 13, 2021, Plaintiff sent a certified letter (return receipt requested) to

                     LowerMyBills at 12181 Bluff Creek Dr., Ste 250, Los Angeles, CA 90094.

              41.    In Plaintiff's letter, Plaintiff provided his name, his full mailing address, and his
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                     telephone number that LowerMyBills keeps calling.

              42.    In Plaintiff's letter, he stated:

                            Dear Lowermybills,

                            Please don't send me any text messages or call me. You have the wrong number.

                             Sincerely,

                             Chris Laccinole

              43.    On several days, LowerMyBills called or texted Plaintiff three times per day.

              44.    Upon information and belief, Defendants employ an automated telephone dialing

                     system because there was no human on the other end of the call during these calls.

              45.    The further evidence of this automated telephone dialing system is that

                     LowerMyBills used prerecorded messages when Plaintiff answered the call.

              46.    To call Plaintiff's cellular telephone, Defendants utilized a calling platform

                    ("Platform")that allowed the transmission of thousands of calls without human

                     involvement.

              47.    This is evident because on many occasions, Plaintiff received and answered phone

                     calls from Defendants, only to be placed on hold and forced to wait while no human

                     was on the other end of the call.

              48.    Specifically, upon information and belief, Defendants utilized a combination of

                     hardware and software systems to call Plaintiff. The systems utilized by Defendants

                     have the capacity to store telephone numbers using a random or sequential

                     generator, and to dial such numbers from a list without human intervention.

              49.    Transmission of LowerMyBills' telephone solicitations work as follows: Private

                     companies known as gateway providers have contactual arrangements with mobile
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                     carriers to transmit two-way text message traffic. These SMS gateway providers

                     send and receive SMS traffic to and from the mobile phone networks' SMS centers,

                     which are responsible for relaying those messages to the intended mobile phone. This

                     allows for the transmission of a large number ofSMS messages to and from a long

                     code.

              50.    Defendant LowerMyBills wrote and recorded the telemarketing solicitation messages

                     before transmitting the messages to a list of phone numbers.

              51.    To send the prerecorded text messages, Defendant used a messaging platform (the

                     "Platform") that permitted Defendant to transmit thousands of automated text

                     messages without any human involvement.

              52.    The Platform has the capacity to store telephone numbers, which capacity was in fact

                     utilized by Defendant.

              53.    The Platform has the capacity to generate sequential numbers, which capacity was in

                     fact utilized by Defendant.

              54.    The Platform has the capacity to dial numbers in sequential order, which capacity

                     was in fact utilized by Defendant.

              55.    The Platform has the capacity to dial numbers from a list of numbers, which capacity

                     was in fact utilized by Defendant.

              56.    The Platform has the capacity to dial numbers without human intervention, which

                     capacity was in fact utilized by Defendant.

              57.    The Platform has the capacity to schedule the time and date for future transmission

                     of text messages, which occurs without any human involvement.

              58.    To transmit the messages at issue, the Platform automatically executed the following
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                     steps:

                     a.       The Platform retrieved each telephone number from a list of numbers in the

                              sequential order the numbers were listed;

                     b.       The Platform then generated each number in the sequential order listed and

                              combined each number with the content of Defendant's prerecorded message

                              to create "packets" consisting of one telephone number and the message

                              content;

                     c.       Each packet was then transmitted in the sequential order listed to an SMS

                              aggregator, which acts an intermediary between the Platform, mobile carriers

                              (e.g. AT&T), and consumers.

                     d.       Upon receipt of each packet, the SMS aggregator transmitted each packet —

                              automatically and with no human intervention — to the respective mobile

                              carrier for the telephone number, again in the sequential order listed by

                              Defendant.

                     e.       Each mobile carrier then sent the message to its customer's mobile telephone.

              59.    The above execution of these instructions occurred seamlessly, with no human

                     intervention, and almost instantaneously. Indeed, the Platform is capable of

                     transmitting thousands oftext messages following the above steps in minutes, if not

                     less.

              60.    Further, the Platform "throttles" the transmission of the text messages depending on

                     feedback it receives from the mobile carrier networks. In other words, the platform

                     controls how quickly messages are transmitted depending on network congestion.

                     The platform performs this throttling function automatically and does not allow a
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                     human to control the function.

              61.    The following graphic summarizes the above steps and demonstrates that the dialing

                     of the text messages at issue was done by the Platform automatically and without

                     any human intervention:




              62.    Upon information and belief, LowerMyBills uses the phone number 774 254 3366 to

                     contact consumers such as Plaintiff.

              63.    Plaintiff does not have an account with LowerMyBills.

              64.    Plaintiff has no pre-existing business relationship with LowerMyBills and never

                     requested by an agreement or otherwise that he be contacted.

              65.    At the time that LowerMyBills started calling Plaintiff, Plaintiff had already been in

                     possession of his phone and the phone number in question for nearly two years. At

                     no point in this preceding two years was Plaintiff ever contacted by LowerMyBills.

              66.    Plaintiff never provided his consent to LowerMyBills to be contacted on his cellular

                     telephone.

              67.    Plaintiff's phone number is part of the national Do Not Call registry.

              68.    LowerMyBills's calls directly interfered with Plaintiffs right to peacefully enjoy a


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                     service that Plaintiff paid for and caused Plaintiff a significant amount of anxiety,

                     frustration, and annoyance.

              69.    It is unfair for LowerMyBills to call Plaintiff and deplete the minutes and text

                     messages in Plaintiff's cell phone plan when LowerMyBills did not have consent to

                     call Plaintiff.

              70.    The telephone calls and text messages to Plaintiff's cellular telephone number were

                     not initiated for an emergency purpose.

              71.    The robocalls were annoying, abusive, and harassing to Plaintiff.

              72.    The robocalls to Plaintiffinvaded the privacy interests that the TCPA was intended

                     to protect.

              73.    Defendants do not maintain a written policy for maintaining a do-not-call list.

              74.    Defendants have not informed and trained personnel engaged in making calls on the

                     use of the do-not-call list.

              75.    Plaintiff incurred damages as a result of Defendant's unlawful conduct.

              76.    Defendant's phone calls harmed Plaintiff by causing the very harm that Congress

                     sought to prevent—a "nuisance and invasion of privacy."

              77.    Defendant's phone calls harmed Plaintiff by trespassing upon and interfering with

                     Plaintiffs rights and interests in Plaintiffs cellular telephone.

              78.    Defendant's phone calls harmed Plaintiff by trespassing upon and interfering with

                     Plaintiff's rights and interests in Plaintiff's cellular telephone line.

              79.    Defendant's phone calls harmed Plaintiff by intruding upon Plaintiff's seclusion.

              80.    Defendants harassed Plaintiff by incessantly calling Plaintiff's telephone.

              81.    Defendant's phone calls harmed Plaintiff by causing Plaintiff aggravation and



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                     annoyance.

              82.    Defendant's phone calls harmed Plaintiff by wasting Plaintiff's time.

              83.    Defendant's phone calls harmed Plaintiff by depleting the battery life on Plaintiff's

                     cellular telephone.

              84.    Defendant's phone calls harmed Plaintiff by using minutes allocated to Plaintiff by

                     Plaintiff's cellular telephone service provider.

              85.    Defendant's phone calls harmed Plaintiff by using text messages allocated to Plaintiff

                     by Plaintiff's cellular telephone service provider.

              86.    Defendant's phone calls harmed Plaintiff by using data storage space in Plaintiff's

                     cellular telephone.

              87.    Defendant engaged in unfair methods of competition and unfair or deceptive acts or

                     practices by engaging in acts or practices that are unfair or deceptive to the

                     consumer. LowerMyBills caused charges to be incurred on Plaintiff's cellular

                     telephone.

              88.    Defendant engaged in unfair methods of competition and unfair or deceptive acts or

                     practices by using methods, acts, and practices that mislead or deceive members of

                     the public in a material respect.

                    COUNT I — Telephone Consumer Protection Act —47 U.S.C.§ 227(b)(1)(A)(iii)

              89.    The acts of the Defendants constitute violations of the Telephone Consumer

                     Protection Act.

              90.    Defendant's violations of the TCPA include, but are not limited to, the following:

                            Making and/or initiating a telephone call using an automatic telephone
                            dialing system or an artificial or prerecorded voice to any telephone number
                            assigned to a cellular telephone service, in violation of47 U.S.C. §
                            227(b)(1)(A)(iii).


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              91.    As a result of Defendant's actions, under 47 U.S.C. § 227(b)(3), Plaintiff is entitled to

                     an award of statutory damages of $500.00 for each such violation and an injunction

                     prohibiting future conduct in violation of the TCPA.

              92.    Since Defendant's violations were committed willfully and knowingly, Plaintiff

                     requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(b)(3)for

                     each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                            1) Actual Damages pursuant to 47 U.S.C. § 227(b)(3);
                            2) Statutory Damages in the amount of $1,500 for "each such violation"
                               pursuant to 47 U.S.C. § 227(b)(3);
                            3) Injunctive Relief to restrain and enjoin Defendant from calling Plaintiff
                               using an automatic telephone dialing system or prerecorded message.
                            4) Referral to the Rhode Island Attorney General for prosecution under 47
                               U.S.C. § 227(g).
                            5) Such other relief as the Court may deem just and appropriate.

                    COUNT II — Telephone Consumer Protection Act —47 CFR § 64.1200(a)(1)(iii)

              93.    The acts of the Defendants constitute violations of the Telephone Consumer

                     Protection Act.

              94.    Defendants violated regulations of the TCPA including, but not limited to, the

                     following:

                            No person or entity may use an automatic telephone dialing system or an
                            artificial or prerecorded voice to any telephone number assigned to a paging
                            service, cellular telephone service, specialized mobile radio service, or other
                            radio common carrier service, or any service for which the called party is
                            charged for the call.
                                                                                 47 CFR § 64.1200(a)(1)(iii).

              95.    Defendants damaged Plaintiff by calling and texting his cellular phone and using the

                     limited minutes and text messages plan in his cellular telephone plan that Plaintiff

                     purchased.


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              96.    As a result of Defendant's actions, under 47 U.S.C. § 227(b)(3), Plaintiff is entitled to

                     an award of statutory damages of$500.00 "for each such violation" and an

                     injunction prohibiting future conduct in violation of the TCPA.

              97.    Since Defendant's violations were committed willfully and knowingly, Plaintiff

                     requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(b)(3)for

                     each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                            1) Actual Damages pursuant to 47 U.S.C. § 227(b)(3);
                            2) Statutory Damages in the amount of$1,500 for each such violation
                               pursuant to 47 U.S.C. § 227(b)(3);
                            3) Injunctive Relief to restrain and enjoin Defendant from calling Plaintiff
                               using an automatic telephone dialing system or prerecorded message.
                            4) Referral to the Rhode Island Attorney General for prosecution under 47
                               U.S.C. § 227(g).
                            5) Such other relief as the Court may deem just and appropriate.

                     COUNT III — Telephone Consumer Protection Act —47 CFR § 64.1200(a)(2)

              98.    The acts of the Defendants constitute violations of the Telephone Consumer

                     Protection Act.

              99.    Defendants violated regulations of the TCPA including, but not limited to, the

                     following:

                            No person or entity may initiate, or cause to be initiated, any telephone call
                            that includes or introduces an advertisement or constitutes telemarketing,
                            using an automatic telephone dialing system or an artificial or prerecorded
                            voice, to any of the lines or telephone numbers described in paragraphs
                           (a)(1)(i) through (iii) of this section.
                                                                                    47 CFR § 64.1200(a)(2).

              100.   Defendants damaged Plaintiff by calling his cellular phone with telemarketing

                     messages and using the limited minutes and text messages plan in Plaintiff's cellular

                     telephone plan that Plaintiff purchased.



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              101.   As a result of Defendant's actions, under 47 U.S.C. § 227(b)(3), Plaintiff is entitled to

                     an award of statutory damages of$500.00 "for each such violation" and an

                     injunction prohibiting future conduct in violation of the TCPA.

              102.   Since Defendant's violations were committed willfully and knowingly, Plaintiff

                     requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(b)(3)for

                     each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                            1) Actual Damages pursuant to 47 U.S.C. § 227(b)(3);
                            2) Statutory Damages in the amount of $1,500 for each such violation
                               pursuant to 47 U.S.C. § 227(b)(3);
                            3) Injunctive Relief to restrain and enjoin Defendant from making
                               telemarketing calls using an automatic telephone dialing system or
                               prerecorded message.
                            4) Referral to the Rhode Island Attorney General for prosecution under 47
                               U.S.C. § 227(g).
                            5) Such other relief as the Court may deem just and appropriate.

                     COUNT IV — Telephone Consumer Protection Act —47 CFR § 64.1200(c)(2)

              103.   The acts of the Defendants constitute violations of the Telephone Consumer

                     Protection Act.

              104.   Defendants violated regulations of the TCPA including, but not limited to, the

                     following:

                            No person or entity shall initiate any telephone solicitation to a residential
                            telephone subscriber who has registered his or her telephone number on the
                            national do-not-call registry of persons who do not wish to receive telephone
                            solicitations that is maintained by the Federal Government.
                                                                                    47 CFR § 64.1200(c)(2).

                            The rules set forth in paragraph (c) and(d)of this section [47 CFR § 64.1200]
                            are applicable to any person or entity making telephone solicitations or
                            telemarketing calls to wireless telephone numbers to the extent described in
                            the Commission's Report and Order, CG Docket No. 02-278, FCC 03-153,
                            "Rules and Regulations Implementing the Telephone Consumer Protection
                            Act of 1991."


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                                                                                       47 CFR § 64.1200(e).

              105.   Since Defendants called Plaintiff's cellular telephone while his telephone was on the

                     National Do Not Call Registry, Defendant's conduct damaged Plaintiff by forcing

                     him to incur expenses from further phone calls and text messages to Plaintiff's

                     cellular telephone.

              106.   As a result of Defendant's actions, under 47 U.S.C. § 227(b)(3), Plaintiff is entitled to

                     an award of statutory damages of$500.00 "for each such violation" and an

                     injunction prohibiting future conduct in violation of the TCPA.

              107.   Since Defendant's violations were committed willfully and knowingly, Plaintiff

                     requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(b)(3)for

                     each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                            1) Actual Damages pursuant to 47 U.S.C. § 227(b)(3);
                            2) Statutory Damages in the amount of$1,500 for each such violation
                               pursuant to 47 U.S.C. § 227(b)(3);
                            3) Injunctive Relief to restrain and enjoin Defendant from calling telephone
                               numbers on the national do-not-call-registry.
                            4) Referral to the Rhode Island Attorney General for prosecution under 47
                               U.S.C. §227(g).
                            5) Such other relief as the Court may deem just and appropriate.

                     COUNT V — Telephone Consumer Protection Act —47 CFR § 64.1200(d)(1)

              108.   The acts of the Defendants constitute violations of the Telephone Consumer

                     Protection Act.

              109.   Defendants violated regulations of the TCPA including, but not limited to, the

                     following:

                            Written policy. Persons or entities making calls for telemarketing purposes
                            must have a written policy, available upon demand,for maintaining a do-not-
                            call list.


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                                                                                     47 CFR § 64.1200(d)(1).

              1 10.   Defendants do not maintain a do-not-call list.

              111.    Plaintiff asked LowerMyBills for a copy of the do not call policy and Defendant did

                      not provide any policy.

              1 12.   As a result of Defendant's actions, under 47 U.S.C. § 227(b)(3), Plaintiff is entitled to

                      an award of statutory damages of$500.00 "for each such violation" and an

                      injunction prohibiting future conduct in violation of the TCPA.

              113.    Since Defendant's violations were committed willfully and knowingly, Plaintiff

                      requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(b)(3)for

                      each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                             1) Actual Damages pursuant to 47 U.S.C. § 227(b)(3);
                             2) Statutory Damages in the amount of$1,500 for each such violation
                                pursuant to 47 U.S.C. § 227(b)(3);
                             3) Injunctive Relief to restrain and enjoin Defendant from conducting
                                telemarketing without a written policy for maintaining a do-not-call list.
                             4) Referral to the Rhode Island Attorney General for prosecution under 47
                                U.S.C. §227(g).
                             5) Such other relief as the Court may deem just and appropriate.

                      COUNT VI— Telephone Consumer Protection Act —47 CFR § 64.1200(d)(2)

              1 14.   The acts of the Defendants constitute violations of the Telephone Consumer

                      Protection Act.

              115.    Defendants violated regulations of the TCPA including, but not limited to, the

                      following:

                            • Training of personnel engaged in telemarketing. Personnel engaged in any
                              aspect of telemarketing must be informed and trained in the existence and use
                              of the do-not-call list.
                                                                                   47 CFR § 64.1200(d)(2).



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              1 16.   Defendants do not maintain a do-not-call list.

              117.    As a result of Defendant's actions, under 47 U.S.C. § 227(b)(3), Plaintiff is entitled to

                      an award of statutory damages of$500.00 "for each such violation" and an

                      injunction prohibiting future conduct in violation of the TCPA.

              1 18.   Since Defendant's violations were committed willfully and knowingly, Plaintiff

                      requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(b)(3)for

                      each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                             1) Actual Damages pursuant to 47 U.S.C. § 227(b)(3);
                             2) Statutory Damages in the amount of$1,500 for each such violation
                                pursuant to 47 U.S.C. § 227(b)(3);
                             3) Injunctive Relief to restrain and enjoin Defendant from telemarketing
                                without informed and trained personnel.
                             4) Referral to the Rhode Island Attorney General for prosecution under 47
                                U.S.C. §227(g).
                             5) Such other relief as the Court may deem just and appropriate.

                      COUNT VII— Telephone Consumer Protection Act —47 CFR § 64.1200(d)(4)

              119.    The acts of the Defendants constitute violations of the Telephone Consumer

                      Protection Act.

              120.    Defendants violated regulations of the TCPA including, but not limited to, the

                      following:

                             Identification of sellers and telemarketers. A person or entity making a call for
                             telemarketing purposes must provide the called party with the name of the
                             individual caller, the name of the person or entity on whose behalf the call is
                             being made, and a telephone number or address at which the person or entity
                             may be contacted.
                                                                                    47 CFR § 64.1200(d)(4).

              121.    Since Defendants did not identify the name of the caller, Defendant's conduct

                      damaged Plaintiff by forcing him to incur expenses to determine who called



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                     Plaintiffs cellular telephone.

              122.   Since Defendants did not identify the name of the entity on whose behalf the call is

                     being made, Defendant's conduct damaged Plaintiff by forcing him to incur expenses

                     to determine who called Plaintiffs cellular telephone.

              123.   Since Defendants did not identify the address of the caller, Defendant's conduct

                     damaged Plaintiff by forcing him to incur expenses to determine who called

                     Plaintiffs cellular telephone.

              124.   As a result of Defendant's actions, under 47 U.S.C. § 227(b)(3), Plaintiff is entitled to

                     an award of statutory damages of$500.00 "for each such violation" and an

                     injunction prohibiting future conduct in violation of the TCPA.

              125.   Since Defendant's violations were committed willfully and knowingly, Plaintiff

                     requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(b)(3)for

                     each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                            1) Actual Damages pursuant to 47 U.S.C. § 227(b)(3);
                            2) Statutory Damages in the amount of $1,500 for each such violation
                               pursuant to 47 U.S.C. § 227(b)(3);
                            3) Injunctive Relief to restrain and enjoin Defendant from telemarketing
                               without identifying the caller.
                            4) Referral to the Rhode Island Attorney General for prosecution under 47
                               U.S.C. § 227(g).
                            5) Such other relief as the Court may deem just and appropriate.

                     COUNT VIII— Telephone Consumer Protection Act— 47 U.S.C.§ 227(c)(5)

              126.   The acts of the Defendants constitute violations of the Telephone Consumer

                     Protection Act.

              127.   Defendant's violations of the TCPA include, but are not limited to, the following:
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                              Placing more than one telephone call to Plaintiff's cellular phone without
                              consent in violation of the TCPA regulations.

              128.     As a result of Defendant's actions, under 47 U.S.C. § 227(c)(5), Plaintiff is entitled to

                     • an award of statutory damages of$500.00 for each such violation and an injunction

                       prohibiting future conduct in violation of the TCPA.

              129.     Since Defendant's violations were committed willfully and knowingly, Plaintiff

                      • requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(c)(5) for

                       each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                              1) Actual Damages pursuant to 47 U.S.C. § 227(c)(5);
                              2) Statutory Damages in the amount of $1,500 for each such violation
                                 pursuant to 47 U.S.C. § 227(c)(5);
                              3) Injunctive Relief to restrain and enjoin Defendant from calling Plaintiff.
                              4) Referral to the Rhode Island Attorney General for prosecution under 47
                                 U.S.C. § 227(g).
                              5) Such other relief as the Court may deem just and appropriate.

                     COUNT IX — Telephone Consumer Protection Act —47 CFR § 64.1200(a)(1)(iii)

              130.     The acts of the Defendants constitute violations of the Telephone Consumer

                       Protection Act.

              131.     Defendants violated regulations of the TCPA including, but not limited to, the

                       following:

                              No person or entity may use an automatic telephone dialing system or an
                              artificial or prerecorded voice to any telephone number assigned to a paging
                              service, cellular telephone service, specialized mobile radio service, or other
                              radio common carrier service, or any service for which the called party is
                              charged for the call.
                                                                                   47 CFR § 64.1200(a)(1)(iii).

              132.     Defendants damaged Plaintiff by calling and texting his cellular phone and using the

                       limited minutes and text messages plan in his cellular telephone plan that Plaintiff



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                     purchased.

              133.   As a result of Defendant's actions, under 47 U.S.C. § 227(c)(5), Plaintiff is entitled to

                     an award of statutory damages of$500.00 for each such violation and an injunction

                     prohibiting future conduct in violation of the TCPA.

              134.   Since Defendant's violations were committed willfully and knowingly, Plaintiff

                     requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(c)(5)for

                     each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                            1) Actual Damages pursuant to 47 U.S.C. § 227(c)(5);
                            2) Statutory Damages in the amount of$1,500 for each such violation
                               pursuant to 47 U.S.C. § 227(c)(5);
                            3) Injunctive Relief to restrain and enjoin Defendant from calling Plaintiff
                               using an automatic telephone dialing system or prerecorded message.
                            4) Referral to the Rhode Island Attorney General for prosecution under 47
                               U.S.C. § 227(g).
                            5) Such other relief as the Court may deem just and appropriate.

                     COUNT X — Telephone Consumer Protection Act —47 CFR § 64.1200(a)(2)

              135.   The acts of the Defendants constitute violations of the Telephone Consumer

                     Protection Act.

              136.   Defendants violated regulations of the TCPA including, but not limited to, the

                     following:

                            No person or entity may initiate, or cause to be initiated, any telephone call
                            that includes or introduces an advertisement or constitutes telemarketing,
                            using an automatic telephone dialing system or an artificial or prerecorded
                            voice, to any of the lines or telephone numbers described in paragraphs
                           (a)(1)(i) through (iii) of this section.
                                                                                    47 CFR § 64.1200(a)(2).

              137.   Defendants damaged Plaintiff by calling his cellular phone with telemarketing

                     messages and using the limited minutes and text messages plan in Plaintiff's cellular



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                     telephone plan that Plaintiff purchased.

              138.   As a result of Defendant's actions, under 47 U.S.C. § 227(c)(5), Plaintiff is entitled to

                     an award of statutory damages of $500.00 for each such violation and an injunction

                     prohibiting future conduct in violation of the TCPA.

              139.   Since Defendant's violations were committed willfully and knowingly, Plaintiff

                     requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(c)(5)for

                     each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                            1) Actual Damages pursuant to 47 U.S.C. § 227(c)(5);
                            2) Statutory Damages in the amount of $1,500 for each such violation
                               pursuant to 47 U.S.C. § 227(c)(5);
                            3) Injunctive Relief to restrain and enjoin Defendant from telemarketing
                               using an automatic telephone dialing system or prerecorded message.
                            4) Referral to the Rhode Island Attorney General for prosecution under 47
                               U.S.C. § 227(g).
                            5) Such other relief as the Court may deem just and appropriate.

                     COUNT XI— Telephone Consumer Protection Act —47 CFR § 64.1200(c)(2)

              140.   The acts of the Defendants constitute violations of the Telephone Consumer

                     Protection Act.

              141.   Defendants violated regulations of the TCPA including, but not limited to, the

                     following:

                            No person or entity shall initiate any telephone solicitation to a residential
                            telephone subscriber who has registered his or her telephone number on the
                            national do-not-call registry of persons who do not wish to receive telephone
                            solicitations that is maintained by the Federal Government.
                                                                                    47 CFR § 64.1200(c)(2).

                            The rules set forth in paragraph (c) and(d)of this section [47 CFR § 64.1200]
                            are applicable to any person or entity making telephone solicitations or
                            telemarketing calls to wireless telephone numbers to the extent described in
                            the Commission's Report and Order, CG Docket No. 02-278, FCC 03-153,



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                            "Rules and Regulations Implementing the Telephone Consumer Protection
                            Act of 1991."
                                                                                47 CFR § 64.1200(e).

              142.   Since Defendants called Plaintiff's cellular telephone while his telephone was on the

                     National Do Not Call Registry, Defendant's conduct damaged Plaintiff by forcing

                     him to incur expenses from further phone calls and text messages to Plaintiff's

                     cellular telephone.

              143.   As a result of Defendant's actions, under 47 U.S.C. § 227(c)(5), Plaintiff is entitled to

                     an award of statutory damages of$500.00 for each such violation and an injunction

                     prohibiting future conduct in violation of the TCPA.

              144.   Since Defendant's violations were committed willfully and knowingly, Plaintiff

                     requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(c)(5)for

                     each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                            1) Actual Damages pursuant to 47 U.S.C. § 227(c)(5);
                            2) Statutory Damages in the amount of $1,500 for each such violation
                               pursuant to 47 U.S.C. § 227(c)(5);
                            3) Injunctive Relief to restrain and enjoin Defendant from telemarketing to
                               numbers on the national do-not-call registry.
                            4) Referral to the Rhode Island Attorney General for prosecution under 47
                               U.S.C. §227(g).
                            5) Such other relief as the Court may deem just and appropriate.

                     COUNT XII — Telephone Consumer Protection Act —47 CFR § 64.1200(d)(1)

              145.   The acts of the Defendants constitute violations Of the Telephone Consumer

                     Protection Act.

              146.   Defendants violated regulations of the TCPA including, but not limited to, the

                     following:
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                             Written policy. Persons or entities making calls for telemarketing purposes
                             must have a written policy, available upon demand, for maintaining a do-not-
                             call list.
                                                                                    47 CFR § 64.1200(d)(1).

              147.    Defendants do not maintain a do-not-call policy.

              148.    As a result of Defendant's actions, under 47 U.S.C. § 227(c)(5), Plaintiff is entitled to

                      an award of statutory damages of$500.00 "for each such violation" and an

                      injunction prohibiting future conduct in violation of the TCPA.

              149.    Since Defendant's violations were committed willfully and knowingly, Plaintiff

                      requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(c)(5)for

                      each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                             1) Actual Damages pursuant to 47 U.S.C. § 227(c)(5);
                             2) Statutory Damages in the amount of $1,500 for each such violation
                                pursuant to 47 U.S.C. § 227(c)(5);
                             3) Injunctive Relief to restrain and enjoin Defendant from telemarketing
                                without a written do-not-call policy.
                             4) Referral to the Rhode Island Attorney General for prosecution under 47
                                U.S.C. §227(g).
                             5) Such other relief as the Court may deem just and appropriate.

                     COUNT XIII — Telephone Consumer Protection Act —47 CFR § 64.1200(d)(2)

              150.    The acts of the Defendants constitute violations of the Telephone Consumer

                      Protection Act.

              151.    Defendants violated regulations of the TCPA including, but not limited to, the

                      following:

                             Training of personnel engaged in telemarketing. Personnel engaged in any
                             aspect of telemarketing must be informed and trained in the existence and use
                             of the do-not-call list.
                                                                                  47 CFR § 64.1200(d)(2).

              152.    Defendants do not maintain a do-not-call list.


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              153.    As a result of Defendant's actions, under 47 U.S.C. § 227(c)(5), Plaintiff is entitled to

                      an award of statutory damages of$500.00 "for each such violation" and an

                      injunction prohibiting future conduct in violation of the TCPA.

              154.    Since Defendant's violations were committed willfully and knowingly, Plaintiff

                      requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(c)(5)for

                      each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                             1) Actual Damages pursuant to 47 U.S.C. § 227(c)(5);
                             2) Statutory Damages in the amount of$1,500 for each such violation
                                pursuant to 47 U.S.C. § 227(c)(5);
                             3) Injunctive Relief to restrain and enjoin Defendant from telemarketing
                                without informed and trained personnel.
                             4) Referral to the Rhode Island Attorney General for prosecution under 47
                                U.S.C. § 227(g).
                             5) Such other relief as the Court may deem just and appropriate.

                     COUNT XIV — Telephone Consumer Protection Act —47 CFR § 64.1200(d)(4)

              155.    The acts of the Defendants constitute violations of the Telephone Consumer

                     Protection Act.

              156.    Defendants violated regulations of the TCPA including, but not limited to, the

                     following:

                             Identification of sellers and telemarketers. A person or entity making a call for
                             telemarketing purposes must provide the called party with the name of the
                             individual caller, the name of the person or entity on whose behalf the call is
                             being made, and a telephone number or address at which the person or entity
                             may be contacted.
                                                                                    47 CFR § 64.1200(d)(4).

              157.    Since Defendants did not identify the name of the caller, Defendant's conduct

                      damaged Plaintiff by forcing him to incur expenses to determine who called

                      Plaintiffs cellular telephone.



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              158.   Since Defendants did not identify the name of the entity on whose behalf the call is

                     being made, Defendant's conduct damaged Plaintiff by forcing him to incur expenses

                     to determine who called Plaintiff's cellular telephone.

              159.   Since Defendants did not identify the address of the caller, Defendant's conduct

                     damaged Plaintiff by forcing him to incur expenses to determine who called

                     Plaintiff's cellular telephone.

              160.   As a result of Defendant's actions, under 47 U.S.C. § 227(c)(5), Plaintiff is entitled to

                     an award of statutory damages of$500.00 "for each such violation" and an

                     injunction prohibiting future conduct in violation of the TCPA.

              161.   Since Defendant's violations were committed willfully and knowingly, Plaintiff

                     requests an award Of statutory damages of $1,500.00 under 47 U.S.C. § 227(c)(5)for

                     each such violation.

              Wherefore, the Plaintiff requests judgment against each Defendant for

                            1) Actual Damages pursuant to 47 U.S.C. § 227(c)(5);
                            2) Statutory Damages in the amount of$1,500 for each such violation
                               pursuant to 47 U.S.C. § 227(c)(5);
                            3) Injunctive Relief to restrain and enjoin Defendant from telemarketing
                               without identifying the caller.
                            4) Referral to the Rhode Island Attorney General for prosecution under 47
                               U.S.C. § 227(g).
                            5) Such other relief as the Court may deem just and appropriate.

                                        COUNT XV — RHODE ISLAND DTPA

              162.   The Plaintiff reasserts the facts and allegations contained in all of the proceeding

                     paragraphs and incorporates them into this Count.

              163.   Defendant violated the restrictions the RI DTPA imposes on them prohibiting

                     Defendant from using unfair and deceptive practices in violation of Rhode Island

                     General Law § 6-13.1 et seq.


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              164.   Defendant engaged in false representation or deceptive means to obtain money from

                     a person.

              165.   By calling Plaintiff's personal cellular telephone repeatedly, Defendants caused

                     Plaintiff to incur charges to his personal cellular telephone plan, and depleted the

                     minutes and text messages available in his plan.

              166.   Defendant's actions were unfair to Plaintiff where Plaintiff had to go out of his way

                     to tell Defendants to stop calling him and to stop the charges from LowerMyBills to

                     accrue to Plaintiff's cellular telephone plan.

              167.   As a result of such conduct and actions, the Plaintiff has suffered actual damages, in

                     an amount to be determined by the court, and he may recover therefore pursuant to

                     Rhode Island General Law § 6-13.1-5.2.

              168.   Such conduct and actions of Defendants were willful, egregious, wicked, and, as a

                     result, the Plaintiff is entitled to punitive damages pursuant to Rhode Island General

                     Law § 6-13.1-5.2.

              169.   The Plaintiff is entitled to an award of attorney's fees pursuant to Rhode Island

                     General Law § 6-13.1-5.2.

              Wherefore, the Plaintiffrequests judgment against each Defendant for

                            1) Actual Damages pursuant to RIGL § 6-13.1-5.2;
                            2) Statutory Damages against Defendants in the amount of $200 for each
                               violation of the Rhode Island Deceptive Trade Practices Act pursuant to
                               RIGL § 6-13.1-5.2;
                            3) Punitive Damages pursuant to RIGL § 6-13.1-5.2;
                            4) Costs and attorney fees pursuant to RIGL § 6-13.1-5.2;
                            5) Declaratory Relief that Defendants violated the Rhode Island Deceptive
                               Trade Practices Act;
                            6) Injunctive Relief to refer the Court's findings to the Rhode Island
                               Attorney General for prosecution and forfeiture under RIGL § 6-13.1-5,
                               RIGL § 6-13.1-5.2(c), RIGL § 6-13.1-7, and RIGL § 6-13.1-9.
                            7) Interest pursuant to RIGL § 9-21-10;


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Submitted: 11/17/2021 11:46 AM
Envelope: 3377351
Reviewer: Brittany M.



                             8) Such other relief as the Court may deem just and appropriate.

                                         COUNT XVI — RIGHT TO PRIVACY

              170.   The Plaintiff reasserts the facts and allegations contained in all of the proceeding

                     paragraphs and incorporates them into this Count.

              171.   Defendants violated the restrictions the privacy statute imposes on them prohibiting

                     Defendants from invading Plaintiff's privacy in violation ofRIGL § 9-1-28.1 et seq.

              172.   Defendants intruded upon the seclusion of Plaintiff.

              173.   It is highly offensive that Defendants robocall Plaintiff three times a day, put Plaintiff

                     on hold, and play prerecorded messages.

              174.   As a result of such conduct and actions, the Plaintiff has suffered actual damages, in

                     an amount to be determined pursuant to RIGL § 9-1-28.1.

              175.   The Plaintiff is entitled to an award of attorney's fees pursuant to RIGL § 9-1-28.1.

              Wherefore, the Plaintiff requests judgment against each Defendant for ,

                             1) Actual Damages pursuant to RIGL § 9-1-28.1;
                             2) Costs and attorney fees pursuant to RIGL § 9-1-28.1;
                             3) Declaratory Relief that Defendants invaded Plaintiff's privacy.
                             4) Injunctive Relief to restrain and enjoin Defendants from violating
                                Plaintiff's privacy.
                             5) Interest pursuant to RIGL § 9-21-10;
                             1) Such other relief as the Court may deem just and appropriate.

                                                     JURY DEMAND

              Plaintiff requests a trial by jury on all Counts.

                                                           The Plaintiff,

                                                           /s/ Christopher Laccinole
                                                           Christopher M. Laccinole
                                                           23 Othmar St.
                                                           Narragansett, RI 02882
                                                           chrislaccinole gmail.corn



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               See this notice in Cambodian, Spanish, and Portuguese on the attached pages. Espafiol: Vease
               esta notificacion en camboyano, espatiol y portugues en las paginas adjuntas. Portugues: Leia
                        esta notificacao em cambojano, espanhol e portugues nas paginas em anexo.

                                                                  N OTICE
                                 You have a case in the Rhode Island state court system.

                                  You have the right to an interpreter at no cost to you.
                           Rhode Island Supreme Court Executive Order 2012-05 states that when a Limited-
English Proficient (LEP) person appears in court, the Rhode Island Judiciary will provide a free authorized
interpreter for the defendant, plaintiff, witness, victim, parent of a juvenile, or someone with a significant
interest in the court proceeding. This interpreting service is provided at no cost to the parties and in all types of
cases, both civil and criminal. Court interpreters work in all the courthouses of the Rhode Island state court
system.

To schedule an interpreter for your day in court, you have the following options:
1.        Call the Office of Court Interpreters at(401)222-8710, or

2.       Send an email message to inter.preterfeedback@courts.ri.gov, or

3.        Visit the interpreters' office to schedule an interpreter:

                                 The Office of Court Interpreters
                                 Licht Judicial Complex
                                 Fourth Floor, Room 401
                                 250 Benefit Street
                                 Providence, RI 02903

          When requesting an interpreter, please provide the following information:

                 The name and number of your case
                 The language you are requesting
                 The date and time of your hearing
                 The location of your hearing
                 Your name and a telephone number where we can reach you or your lawyer

 For more information in Portuguese, Russian, and Spanish, including a listing of court forms that are available
                             in Spanish, please visit our website on the Internet:
                      https://www.courts.ri.gov/Interpreters/englishversion/F'ages/defaultaspx.
     To request a translation of this notice into any other language, please call the Office of Court Interpreters at
            (401)222-8710. It would be helpful to have an English speaker with you when you call.
                   The Rhode Island Judiciary is committed to making the courts accessible to all.
                                               The Office of Court Interpreters
                                               Licht Judicial Complex Fourth
                                                      Floor Room 401
                                                     250 Benefit Street
                                                   Providence, RI 02903
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            Espafiol: Vease esta notificacion en camboyano, espatiol y portugues en las paginas adjuntas.
            Portugues: Leia esta notificacdo em cambojano, espanhol e portugues nas paginas em anexo.


                                                        N OTIFICAcA0
                              V.Ex.a tern um processo em curso no sistema judiciario do
                                              Estado de Rhode Island,

                              V.Ex.a tern direito aos servicos gratuitos de um interprete.
A Ordem Executiva 2012-05 do Supremo Tribunal de Rhode Island preve que quando uma pessoa corn conhecimentos
limitados da lingua inglesa (Limited-English Proficient)(LEP) comparece em tribunal, a Administracao Judiciaria de
Rhode Island disponibiliza-lhe gratuitamente os servicos de um interprete autorizado a urn reu, autor, testemunha, vitima,
pai ou mae de urn menor ou alguem corn interesse significativo no processo judicial. 0 servico de interprete é prestado
igatuitamente as partes e em todos os tipos de processos, sejam eles civis ou penais. Os interpretes do tribunal trabalham
em todos os tribunais do sistema judiciario do Estado de Rhode Island.

Para agendar os servicos de um interprete para o seu dia no tribunal, tern as seguintes opcoes:

1.      Telefonar para o Gabinete de Interpretes Judiciais atraves do n.°(401)222-8710, ou

2.      Enviar uma mensagem de correio eletr6nico para internreterfeedbackAcourts.ri.gov, ou

3.      Deslocar-se ao gabinete de interpretes para agendar os servicos de um interprete:

                                Gabinete de Interpretes Judiciais
                                Complexo Judicial Licht
                                Quarto Piso, Sala 401
                                250 Benefit Street
                                Providence, RI 02903

        Quando solicitar os servicos de um interprete deve fornecer os seguintes dados:

           •   0 nome e numero do seu processo
           •   0idioma que solicita
           •   A data e hora da sua audiencia
           •   0local da sua audiencia
           •   0seu nome e um numero de telefone para o podermos contactar a si ou ao seu advogado

Para obter mais informacoes em portugues, russo e espanhol, incluindo uma lista dos formularios judiciais disponiveis em
                                     espanhol, visite o nosso website na internet:
                         https://www.courtsxi gov/Interpreters/englishversion/Pages/defaultaspx
Para solicitar uma traducao desta notificacao para qualquer outro idioma, telefone para o Gabinete de Interpretes Judiciais
  atraves do nirmero (401)222-8710. Recomenda-se que esteja acompanhado por alguem que fale ingles quando fizer a
                                                        chamada.
        A Administracao Judiciaria de Rhode Island esta empenhada em tomar os tribunais acessiveis para todos.
                                              Gabinete de Interpretes Judiciais
                                                 Complexo Judicial Licht
                                                  Quarto Piso, Sala 401
                                                    250 Benefit Street
                                                  Providence, RI 02903
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                          \Tease esta notificacion en camboyano, espaliol y portugues en las paginas adjuntas.
                  Portugues: Leia esta notificacao em cambojano, espanhol e portugues nas paginas em anexo.

                                                                      A VISO
                                    Usted tiene un caso en el sistema judicial de Rhode Island.

                                Usted tiene el derecho a tener un interprete sin costo para usted.
                              La Orden Ejecutiva 2012-05 del Tribunal Supremo de Rhode Island dicta que cuando una
                              persona que tiene un dominio limitado del ingles (LEP) comparece ante la corte, el Sistcma
                              Judicial de Rhode Island le proveera un interprete autorizado gratis sea el
acusado/demandado, demandante, testigo, victima, padre de un menor de edad alguien que tenga con un interes
importante en el proceso de la corte. Este servicio de interpretacion se le proveera sin costo alguno a los participantes en
toda clase de caso, sea civil o penal.
Los interpretes judiciales trabajan en todos los tribunales del Sistema Judicial de Rhode Island.
Para solicitar un interprete para su comparecencia en el tribunal, usted tiene las siguientes opciones:

    1. Llamar a la Oficina de Interpretes en el tribunal al 401-222-8710;

    2. Mandar un correo electrOnico a internreterfeedbackAcourts.ri.gov; o

    3. Presentarse a la Oficina de Interpretes para solicitar un interprete:

                                The Office of Court Interpreters
                                Licht Judicial Complex
                                Cuarto Piso, Oficina 401 A-B
                                250 Benefit Street
                                Providence,RI 02903

               Al solicitar un interprete, por favor provea la siguiente informaci6n:

       • El nombre y el ntimero de su caso

       • El idioma que solicita

       • La fecha y hora de su audiencia

       • Donde va a tomar lugar su audiencia

       • Su nombre y minter° de telefono por el cual nos podamos poner en contacto con usted o con su
         abogado.


Para obtener mas informacion en portugues, ruso o espaflol, incluyendo una lista de formularios de la corte que estan
disponibles en espaiiol, visite nuestra pagina de internet:
                         https://www.courts.ri.gov/Interpreters/englishversion/Pages/default.aspx
Para solicitar la traduccion de este aviso en cualquier otro idioma, por favor llame a la oficina de interpretes al(401)222-
             8710. Ayudaria si usted puede estar en compafila de una persona que habla ingles cuando llame.
  El sistema juridic° de Rhode Island se compromete a proporcionar a todas las personas mejor acceso a los tribunales.
                                                The Office of Court Interpreters
                                                    Licht Judicial Complex
                                                   Fourth Floor Room 401
                                                      250 Benefit Street
                                                    Providence, RI 02903
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